          Case 8:20-cv-00503-MSS-CPT Document 2 Filed 03/03/20 Page 1 of 1 PageID 20
AO 121 (Rev. 06/16)
TO:

                  Register of Copyrights                                                               REPORT ON THE
                   U.S. Copyright Office                                                       FILING OR DETERMINATION OF AN
                101 Independence Ave. S.E.                                                            ACTION OR APPEAL
                Washington, D.C. 20559-6000                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL
                                                                              United States District Court - Middle District of Florida
DOCKET NO.                          DATE FILED
                                               3/3/2020
PLAINTIFF                                                                             DEFENDANT


    STRIKE 3 HOLDINGS, LLC                                                             JOHN DOE subscriber assigned IP address
                                                                                       47.197.14.115


        COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
     REGISTRATION NO.

1 SEE ATTACHED

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
        COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
     REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



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